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                 EXHIBIT B
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166.   A litigant party may serve pleadings out of bounds of the country if one of the following       Service out of
       conditions occurs and subject to Articles 167 and 168:                                          bounds

       (1)    If it is stipulated in a statute that, from an international point of view, a judge in
              Israel is authorized to hear that particular proceeding or if the parties agreed to
              such jurisdiction.
       (2)    Relief is sought against a person whose domicile is within Israel;
       (3)    The subject of the lawsuit is real estate located in Israel;
       (4)    The lawsuit is related to a contract, and one of the following conditions occurs:
              (a) The contract, in whole or in part, was made or breached within the bounds of
                  Israel or the possibility of its performance in Israel is precluded;
              (b) The laws of the State of Israel apply to the contract;
       (4a) The lawsuit is based on an act or omission that occurred within Israel.
       (5)    The lawsuit is based on damage caused to the plaintiff in Israel due to a product,
              service or the conduct of the defendant, provided that the defendant could have
              foreseen that the damage would be caused in Israel and that the defendant, or a
              person related to it, engages in international trade or provision of international
              services on a significant scale; for this purpose, “Related Person” – if the
              defendant is a corporation, each of the following:
              (1) A person in control of the corporation;
              (2) A corporation controlled by a person as stated in paragraph (1);
              (3) A corporation controlled by any of those referred to in paragraphs (1) and (2);
       (6)    A restraining order is requested for something that is being done or is about to be
              done within the bounds of Israel, or it is requested to prevent or remove a
              nuisance within the bounds of Israel, whether or not damages are requested in
              connection therewith;
       (7)    It is requested to enforce a Foreign Judgment, as defined in the Foreign Judgment
              Law, or a Foreign Arbitration Award, as defined in the Arbitration Law, or it is
              requested to recognize them;
       (8)    It is requested not to enforce a Foreign Arbitration Award, as defined in the
              Arbitration Law, issued against a resident of Israel, if court is convinced that it is
              not possible for the applicant to obtain a fair hearing in the court of the country
              where the judgment was issued;
       (9)    The person who is outside the bounds of Israel is a required or rightful litigant
              party in a lawsuit that was duly filed against another person;
       (10) The person who is outside the bounds of Israel is a party in a lawsuit, one of
            which causes of action is associated with one of the associations stated in this
            Regulation.
167.   (a) A litigant who seeks to serve pleadings outside the bounds of Israel will submit an         Procedure of
       application in writing for determining the method of service; the affidavit supporting the      service out of
                                                                                                       bounds
       application will state the facts that establish the cause of action, the facts that establish
       the cause of service out of bounds and the location where the recipient is or likely to be.
       (b) The court shall order the method of performing the service, including the submission
       of the pleadings, and it may order than in the circumstances, that court documents shall
       not be served out of bounds.
168.   Once pleadings were served out of bounds to the litigant party, he may deny the court’s          Application
       jurisdiction to hear the lawsuit or he plead that the Israeli forum is not the proper forum      denying
       to hear the lawsuit; should the defendant wish to deny or plead as stated, he shall submit       jurisdiction by
       an application in writing no later than the date set for the submission of a statement of        virtue of service
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       defense; once he has done so, the deadline for submitting the statement of defense will
       be counted from the date of the decision on the application.
169.   Should the defendant deny the court’s international jurisdiction, plead that the Israeli      Service to
       forum is not the appropriate forum for the lawsuit, or appointed an attorney for this         defendant who
       purpose, the pleadings cannot be served on him with the bounds of the state, if he            denied
                                                                                                     jurisdiction
       arrives in Israel and stays in it for the purpose of the hearing; also, his attorney cannot
       be served, and no action of his or of his attorney’s shall be deemed to be a waiver of his
       denial of the court’s international jurisdiction, up to fourteen days after the decision on
       the defendant’s argument is issued, or another date ordered by the court upon issuing
       the decision.



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